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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 VIRGINIA L. GIUFFRE,

                             Plaintiff,

               v.                                      No. 19 Civ. 3377 (LAP)

 ALAN DERSHOWITZ,

                             Defendant.


 ALAN DERSHOWITZ,

                Counterclaim Plaintiff,

               v.

 VIRGINIA L. GIUFFRE,

                    Counterclaim Defendant.


                          STIPULATION OF PARTIAL DISMISSAL

       WHEREAS plaintiff and counterclaim defendant Virginia L. Giuffre (“Plaintiff”) filed an

Amended Complaint on April 15, 2020, ECF No. 117, that included as Count II a claim for battery

against defendant and counterclaim plaintiff Alan Dershowitz (“Defendant”);

       WHEREAS Defendant answered the Amended Complaint on April 28, 2020, ECF No.

118;

       WHEREAS Plaintiff has filed a letter seeking permission to move to amend the Amended

Complaint and file a proposed Second Amended Complaint that would include a claim for battery

against Defendant Alan Dershowitz, ECF No. 304;
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        WHEREAS Defendant has now asserted an affirmative defense of release against the

battery claim by invoking a release entered in connection with the settlement of Jane Doe 102 v.

Jeffrey Epstein, No. 09-80656 (S.D. Fla. May 4, 2009); and

        WHEREAS Plaintiff has decided to voluntarily dismiss her battery claim,

        IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff and Defendant,

by and through their undersigned attorneys, as follows:

        1.        Count II of the Amended Complaint shall be and is hereby voluntarily dismissed,

with prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, without

costs or fees to either party.

        2.        Notwithstanding the foregoing, all of the factual allegations underlying and relating

to the cause of action for battery shall remain as alleged in the Amended Complaint.

        3.        Should the Court grant Plaintiff leave to amend the Amended Complaint and file

her proposed Second Amended Complaint, Plaintiff will omit Count II but will not otherwise

revise the allegations contained in Exhibit B to her letter requesting permission to move to amend,

ECF No. 304-2.

        4.        This stipulation is the result of a compromise and shall not at any time, or for any

purpose, be construed as an admission by either party of the validity or invalidity of Plaintiff’s

battery claim or Defendant’s release defense, or the truth or falsity of the factual predicates thereto.

        5.        The above-captioned action will continue to proceed with respect to all remaining

claims and counterclaims, which are expressly preserved and not dismissed by this stipulation.

 Date: August 11, 2021

 For Plaintiff:                                         For Defendant:

 s/ ____________________                                s/ _____________________
 Charles J. Cooper*                                     Howard M. Cooper*


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                                                      SO ORDERED:

                                                      __________________________    08/16/2021
                                                      Hon. Loretta A. Preska
                                                      Senior United States District Judge




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